435 F.2d 1304
    UNITED STATES of America, Respondent-Appellee,v.Pedro Luis RODRIGUEZ Y PAZ, Petitioner-Appellant.
    No. 29104 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    December 16, 1970.
    
      Donald F. Frost, Miami, Fla., for appellant.
      J. V. Eskenazi, Asst. U. S. Atty., Robert W. Rust, U. S. Atty., by Neal R. Sonnett, Asst. U. S. Atty., Miami, Fla., for appellee.
      Before JOHN R. BROWN, Chief Judge, and MORGAN and INGRAHAM, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal is taken from an order of the district court, denying after an evidentiary hearing, petitioner's request for habeas corpus relief. We affirm.
    
    
      2
      As his basis for relief in the court below, petitioner asserted that he was forcibly abducted from the country of Nicaragua through the concerted efforts of Nicaraguan and United States agents and returned to Miami, Florida, where he was subsequently indicted by a Federal grand jury for alleged narcotic offenses. While tacitly admitting that he was a fugitive from justice, having fled to Nicaragua from New York while under a Federal grand jury indictment from that State, petitioner contends that he cannot be held and tried on the indictment issuing out of Florida without first being given the opportunity to return to Nicaragua.
    
    
      3
      The district court in denying relief found that petitioner's return to the United States was secured through diplomatic channels as a result of comity, and that no agent of the United States was responsible for the actions of the Nicaraguan government.
    
    
      4
      The findings of the district court are not clearly erroneous and the denial of relief is amply supported in law. See, Frisbie v. Collins, 342 U.S. 519, 72 S.Ct. 509, 96 L.Ed. 541 (1952); Ker v. Illinois, 119 U.S. 436, 7 S.Ct. 225, 30 L.Ed. 421 (1886).
    
    
      5
      Affirmed.
    
    
      
        Notes:
        *[1] Rule 18, 5th Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5th Cir., 1970, 431 F.2d 409, Part I.
      
    
    